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                                 IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF COLORADO


    WARNER BROS. RECORDS INC., et al..

             Plaintiffs,

    v.                                                      Civil Action No. 19-cv-00874-RBJ-MEH

    CHARTER COMMUNICATIONS, INC.,

             Defendant.


    NOTICE OF SUPPLEMENTAL AUTHORITY REGARDING DEFENDANT CHARTER
    COMMUNICATIONS, INC.’S OBJECTIONS TO MAGISTRATE JUDGE HEGARTY’S
      OCTOBER 29, 2019 DISCOVERY ORDER IDKT 841 AND AS SUPPLEMENT TO
     CHARTER S NOVEMBER 6, 2019 LETTER TO MAGISTRATE JUDGE HEGARTY

             On November 19, 2019, in Sony Music Entertainment et al v. Cox Communications, Inc.

    et al (Dkt. 590. E.D. Va. 1:18-CV-00950-LO-.IFA) (a copyright case also brought against another

    ISP by plaintiff record labels), the court entered an Order denying the plainti ffs’ motion in limine

    to exclude documents regarding the Copyright Alert System (“the CAS’'), allowing evidence and

    argument relating the CAS to be introduced at trial. For the Court’s convenience, Charter

    attaches that Order here as Exhibit 1. (See Ex. 1. at p. 7.)

             This Order directly relates to the CAS issues pending before this Court in Charter’s

    Objections to Magistrate Judge’s October 29, 2019 Discovery Order (Dkt. 84) and a narrowed

    issue from Charter’s November 6. 2019 letter related to CAS implementation agreements

    pending before Magistrate Judge Hegarty. (Dkt. 84 at fn 1).


             Respectfully submitted this 20th day of November, 2019.


                                                   By: s/Craig D. Joyce
                                                   Craig D. Joyce
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                                      CERTIFICATE OF SERVICE

             I certify that on November 20, 2019, a true and correct copy of the foregoing was filed

    with the Court via CM/ECF which will send a notice of electronic tiling to the parties of record.


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